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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


 YALITZA ROSARIO-MENENDEZ,

   Plaintiff,

                v.
                                                    CIVIL NO. 14-1670 (JAG)
 ADMINISTRACION DE COMPENSACIONES

 POR ACCIDENTES DE AUTOMOVILES, et al.,

    Defendants.


                                        JUDGMENT

GARCIA-GREGORY, D.J.

      Pursuant to the Court’s Memorandum and Order dated February 3, 2016 and the Court’s

Order dated February 5, 2016, Docket Nos. 36 & 39, this case is hereby DISMISSED WITHOUT

PREJUDICE.

      IT IS SO ORDERED.

      In San Juan, Puerto Rico, this Friday, February 5, 2016.



                                                                 s/ Jay A. Garcia-Gregory
                                                                 JAY A. GARCIA-GREGORY
                                                                 United States District Judge
